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 6
 7                                 IN THE UNITED STATES DISTRICT COURT

 8                                    EASTERN DISTRICT OF CALIFORNIA

 9
     UNITED STATES OF AMERICA,                              CASE NO. 2:12-CR-0198 MCE
10
                                    Plaintiff,              ORDER SEALING DOCUMENTS AS SET FORTH
11                                                          IN GOVERNMENT’S NOTICE
                              v.
12
     STEVEN ORTEGA JR.,
13
                                    Defendant.
14
15
16           Pursuant to Local Rule 141(b) and based upon the representation contained in the Government’s
17 Request to Seal, IT IS HEREBY ORDERED that the government’s the two page memorandum
18 pertaining to defendant Steven Ortega Jr., and Government’s Request to Seal shall be SEALED until
19 further order of this Court.
20           It is further ordered that access to the sealed documents shall be limited to the government and
21 counsel for the defendant.
22           The Court has considered the factors set forth in Oregonian Publishing Co. v. U.S. District Court for

23 the District of Oregon, 920 F.2d 1462 (9th Cir. 1990). The Court finds that, for the reasons stated in the
24 Government’s request, sealing the Government’s motion pursuant to U.S.S.G 5k1.1 serves a compelling
25 interest. The Court further finds that, in the absence of closure, the compelling interests identified by the
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27 / / /
28 / / /


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       GOVERNMENT’S NOTICE
             Case 2:12-cr-00198-MCE Document 1218 Filed 08/12/16 Page 2 of 2

 1 Government would be harmed. In light of the public filing of its request to seal, the Court further finds that
 2 there are no additional alternatives to sealing the Government’s motion pursuant to U.S.S.G 5k1.1 that would
 3 adequately protect the compelling interests identified by the Government.
 4          IT IS SO ORDERED.

 5   Dated: August 11, 2016

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       ORDER SEALING DOCUMENTS AS SET FORTH IN             2
       GOVERNMENT’S NOTICE
